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              Exhibit 
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             1                 MR. GAUBAS:    Your Honor, People would call next,
             2     George Pinkney.     I believe Mr. Gibson will examine him.
             3                          OFFICER GEORGE PINKNEY

             4     called as a witness in behalf of the People, and after having

             5    · been first duly sworn, testified as follows in answer to
             6     DIRECT EXAMINATION by Mr. Gibson:
                               THE COURT:     Do we need the diagram of the house
              7

              8    up for any reason?

              9                MR. GIBSON:     I don't believe so, at this time.

             10                 THE COURT:    All right.      I will ask the officer as

            11     he answers the questions to be sure and speak up so that
            12     everybody can hear you and also I will instruct you, you are
            13     not to discuss your testimony with anyone, excuse me, after
            14     you leave the Courtroom.
             15          A    Okay.
             16
                                THE COURT:    Go ahead, Mr. Gibson.
 <
;:           17                 MR. GIBSON:    Judge, may I have just a minute.
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             18    I would like the Court Reporil:r to assist me in marking some
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                   of the exhibits.
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z:          20                  THE COURT:    Go ahead and have the exhibits
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            21     marked.
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z           22     (WHEREUPON, PEOPLE'S EXHIBITS 55 THROUGH 60 WERE SO MARKED
            23     FOR IDENTIFICATION)
            24                  MR. GIBSON:    Thank you, the Court, for its
                                                                                     212

           SAVORY-LL-000764
             1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 3 of 46




      1     indulgence in allowing us those few secmds.

      2           Q     I will ask the witness to givehis name, please,

      3     and spell it for the Court Reporter, but the other reporters

      4     present in Court.

       5          A     George Pinkney, PINK N E.Y.

      6           Q     And what is your occupation, Mr. Pinkney?

       7          A     I am a patrolman with the City of Peoria.Police

       8    Department.
       9          Q     was that your occupation on the 20th of January of

      10    this year?
     11           A     Yes, sir, it was.

     12           Q     On that date did you have occasion to speak to a
     13     Quanita Hanson?
     14           A     Yes, sir, I did.
      15          Q     Where was that conversation?

      16          A     At Treewind Junior High School.
<
:     17          Q     And when?
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~    18           A     It was at 1:15 p.m.
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     ·19          Q     As a result of that conversation what did you do?
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                  A     We started looking for a youth by the name of
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     21     Johnny.
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                          MR. VIELEY:    Objection to the term, we.
     23                   THE COURT:    Sustained.      Tell what you did.
     24           A     I started looking for a youth by the name of Johnny.



     SAVORY-LL-000765
                 1:23-cv-01184-CRL-JEH # 318-4    Filed: 04/22/24   Page 4 of 46




          1           Q    Now can you tell us how you went about the task of

          2    looking for this youth by the name of Johnny?

          3           A    I proceeded to check different schools, talked to

          4    different people trying to gain information as to the identity

          5     of this youth.
          6           Q    Were you successful in finding the youth by the name

          7     of Johnny?

          8           A    Yes, sir, I was.

          9
                      Q    And where did you find him?

         10           A    At the Late Afternoon High School.

         11           Q    Now in what circumstances did you find him?

         12           A    I went to the Late Afternoon High School and talked

         13     to the principal there, found that there was a siu:lent

         14     enrolled at the high school by the name of Johnny Lee Savory.

         15           Q    At this point, officer, I will ask you to speak to

         16     thejury, if you please.          Now when      you found he was enrolled
...<
N
         17     at Late Afternoon High School what did you do then?
...
:!


...0     18           A    At 3:30 p.m. that afternoon, Mr. Savory came in,
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~        19     we had talked to the principal, I had talked to .the principal
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..i      20
z
z               and Mr. Savory was brought into the room by Officeraiines
..
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?c

0
         21     and myself.
u
Q



..."'
,c
z        22           Q    Now when you say he was brought into the room, who
         23     bro1..g1t him into the room?
         24           A    It wasn't r~ally that, he was brought in, he was


        SAVORY-LL-000766
             1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 5 of 46




     1     directed into the conference room or teacher's break room

     2     by the principal.
     3            Q    Did anyone come with him?
     4            A    No, sir.
      5           Q    When;you met with Johnny Lee Savory, who else was
      6    present?
      7           A    It was Officer Haines, Johnny Savory and myself.

      8           Q    And when you met with him do you knoiapproximately

      9    what time of day it would have been then?
     10           A    Yes, sir, that was approximately 3:30.
     11           Q    And when you met with him whlt did you say to him?
     12           A    I told him that we were doing an investigat:im in
    13     regard to the incident on Garden Street.                We understood that

    14     he had been with the \Zlctim the night prior and that we

     15    wanted to talk to him in regard to this.
     16           Q    What did he do then?
C
:    17           A    He stated, I don't want to talk to you, I don't
=
s
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~    18    want to make any statements.
N
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    19            Q    What did you do in response to that?
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z
z
    20            A    I tried to exp..ain how important this was that he
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u
           was the only person we knew of at that time tht had seen
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z   22     the victim the night prior, tmt he might have had information
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    23     leading to the apprehension of this person that did this
    24     act.
                                                                              215

    SAVORY-LL-000767
                                                                       ~~
             1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 6 of 46




      1           Q    Did you say anything else to him?

      2           A    Not at that time.

      3           Q    What did he say in response to your explanation of

      4    the importance of the case?

      5           A    Okay, I will talk to you now.

      6           Q    After he responded in that manner did he speak with

      7    you?

      8           A    Yes, sir, he did.

      9           Q    And this is still you and Officer~ines, is that

     10    correct?

     11           A    That is correct.

     12           Q    And what did he say to you?

     13           A    He stated--

     14                  MR. VIELEY:   Excuse me, could we have the date of

     15    this conversation and the time, p~ase.

     16                  THE COURT:    Certainly.
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     17    MR. GIBSON:
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     18           Q    What was the date of this conversation, officer? ·
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     19           A    This would be the 25th of January at approximately
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           3:30 p.m.
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0    21           Q    Will you please now relate what he said to you.
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Q
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     22           A    He stated that he had met the victim on it.Iis date

     23    at the Late Afternoon High School, that at approximately
    24     6:30 they had left the school together.                 He stated they

                                                                              216

    SAVORY-LL-000768
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                1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24    Page 7 of 46




        1    grabbed the bus arriving at the Garden Street address at

        2     7 p.m.      That would be 3033 Garden, the victim's residence.

        3           He stated that they entered the house by way of the

        4    front cror, that the keys were removed from the mail box.

         5   He made a statement at that time to the victim that that was

         6   a dumb place to keep the keys.            They entered the house,

        7     stated that they were hungry, that the victim opened a can

         8    of corn, poured it in a skillet on the stove, that he,

         9    Johnny, took the hot dogs out of the refrigerator and cut

        10    them up with his kinfe.
       11           Stated that they drank from the same cup, at the end
       12     of their meal, cleaned up the dishes and that they proceded
       13
              to practice Kung Fu, stated that the victim pulled out a
       14     night stick and that a pair of chuga sticks which were used
        15    in this practicing and that they went all over the house
        16    doing this.
:""     17          The tv was removed from the stand, placed on the floor
::!

"'..
Ir      18    facing the wall so as not to knock it off or damage it,
N
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       19     the table was picked up and laid across the arms of the

       20     chair, that one would be a coffee table in the front room.

       21           Stated this lasted 't~ approxiIIBtely 8 o'clock.                      They

       22     straightened up the house and left.                 They proceeded up on

       23     Ann Street and talked to a woman for a few minutes.

       24           She gave them Four Dollars, they left.                 On the way        up

                                                                                    217
       SAVORY-LL-000769
                                                                                  7e_7gc
                1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 8 of 46




         1    towards, as he stated, that chicken place, he took Two

         2    Dollars and gave it to the victim and him, himself, kept

         3    Two Dollars.
         4          At the chicken place both youths had 3 pieces of chicken,

         5    a roll, the victim had a Sprite, Mr. Savory had a root beer.
         6    He stated they took their time from approximately 8:15 'til
         7    9 o'clock.     They sat and ate and talked and then somebody

         8    yelled something at them from outside the building, they
         9    thought it to be of a dirty nature.
        10          They took off after this you~th.              Trey- chased him over
        11    the hill all the way to his front door and then proceeded
        12    there back down to the Garden Street.
        13
                    They arrived at the Garden Street address, approximately
        14    10 o'clock.     They walked in, the stepfather, the mother,
        15    the sister, the child were home at that time.                  He stated
        16
              the sister was on the phone, a conversation with a girlfriend,
 ..
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        17
              that the mother and father were embraced on the couch
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f       18    watching a basketball game .
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                    They went into the back room, again practiced Kung Fu
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...z    20
z             for a little while in the bedroom and then listened to some
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        21    music.
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        22          He stated that at that time approximately 11 o'clock,
        23    he left.     He stated he went home ar.riving home about midnight,

       24     placed a call back to the victim and talked to him for an
                                                                                  218

       SAVORY-LL-000770
                  1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 9 of 46




             1   hour, somewhere between 1 and 2 o'clock he hung up the phone.
             2        I asked him in regards to any trouble that the victim

             3   might have had and he said that at that time there was no
             4   trouble, no sounds of anything bad in the background.
             5
                 The father had said good-bye to the son and the son had
             6
                 replied good-bye to his father, that would be the victim
             7
                 and his father.
             8        He also made mention that the victim wanted him to come
             9   over the following day, that he had someihi.ng big he wanted
            10
                 to do and that Johnny was suppose to be over there at 8
            11
                 o'clock.
            12
                      Q     Was that the extent of the conversation?
            13
                      A     Yes, sir.
            14
                      Q     When it was   over what did ~u do then?
            15
                      A     As we were getting ready to leave, Mr. Savory made
            16
                 mention of a knife that the victim was suppose to have had
 <
 ~          17
:!               and in questioning him he stated he had a knife exactly the
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f           18

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                 same, they had both bought knives at Murray's .
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z                     He stated it was a dollar 49, but not more than 3 or
,.;
z           20
z
,.0              4 Dollars.     He said, I have got a knife like this at home.
.,
C


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        I   21
u                If you want to take me there I will get mine so you can see
...".
C
z           22
                 what the victim's knife Jcoked like.
            23
                      Q     Now when you then referred to the victim or when
            24
                 you were referring to Mr. Savory's conversation, as referred


        SAVORY-LL-000771
               1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 10 of 46




         1    to the victim, to whom, if you know, was he referring?

         2            A   James Robison.
         3            Q    Now on Johnny's reference, if you want to take him
         4    to his home, you can obtain this kt'life· for you, what did you

         5    do then?
         6            A   We walked out of Late Afternoon High School, Officer
         7    Haines and myself were in the front.               Jo~nny was at the
         8    rear.       We waked out to the squad car.          Johnny got in the
         9    back.
        10            I was driving, _Officer Haines was in the,passenger
        11    seat and proceeded to 1011 Hulbert Street.                Upon getting
        12    in front of Johnny's house the car was parked, Johnny left
        13
              the car, walked into the house.
        14            Approximately6o seconds later he came back, stated
        15    his father was not home, that he could not gain access to
        16
              the house.       He also made the comment that he felt his
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              father had the knife with him at that time, that he was at
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              the St. Mark's Court Medical B.Ii.lding for some type of
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              treatment and that that is where the knife was at that time.
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..;:
z       20
                      Q    Now, Officer Pinkney, as a Peoria Police Officer,
....
z
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        21
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u             are you ~~miliar with the procedures that are to be used by
.."
0

z       22
~             the peoria Policemen in transporting suspects from one
        23
              location to another?
        24
                      A    Yes, I am.

                                                                                   220
       SAVORY-LL-000772                                                 ·'2-72:3
             1:23-cv-01184-CRL-JEH # 318-4     Filed: 04/22/24   Page 11 of 46




       1           Q       What are those procedures?

       2           A       A suspect would be cuffed and if there were 2

       3     officers in the car, one officer Wllld sit with the suspect

       4     in the back seat of the car.

       5           Q       Vren would he be cuffed?

       6           A       Prior to being removed from the location.

       7           Q       When you left the Late Afternoon High School,

        8    Johnny Lee Savory, where were your handcuffs?

        9          A       My handcuffs were in my belt.

       10          Q       Where were Officer Haines' bandcuff-s, if you know?

      11           A       In bis belt also.

      12           Q       Where were your weapons?
      13           A       In pur bolsters on our belts.

      14           Q       Did you at any time make any physical contact with

       15    Johnny Lee Savory as you were leaving the Late Afternoon

       16    High School?
C
:      17              A    No, sir, I did not.
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~     18               ~    Now could you also relate to us the procedure that
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      19      is to be followed if you know by Pe~ia Policemen when
~

z
w
z     20      allowing a suspect to leave squad cars and go to his residence
z
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>
C
m
0     21      or to any other locations outside of the squad car?
u
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C
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      22               A    He would always be accompanied by an officer.
      23               Q    And also the procedure wh~le riding in a squad
      24      car with a subject or another suspect?



    SAVORY-LL-000773
              1:23-cv-01184-CRL-JEH # 318-4    Filed: 04/22/24   Page 12 of 46




       1           A    Again, if it is a 2-man car, ore officer sits in the

       2     back with the suspect.           If it is a 1-man car the suspect

       3     would be sitting in the front seat retained by a seat belt.

        4          Q    When you arrived at the house, who, if anyone,

        5   · accompanied Johnny Lee Savory to the front door?

        6          A    Johnny exited the car and entered the house by

        7    himself.

        8          Q    How long was he outside the automol:ile?

        9          A    Approximately 1 minute.
       10          Q    And for that period of time how much of that period
       11    of time was he in your field of vision?
      12           A    From the time:re entered the door 'til. the time he
      13     came back out of the door, approximately 60 seconds.
      14     We had no visual contact.
       15          Q    Officer Pinkney, at the Late Afta:>noon High School,
       16    from your point of view, what was Johnpy Lee Savory's status?
<
:      17                  MR. VIELEY:    I am going to object as to his pint
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       18     of view, Your Honor.
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      19                   THE COURT:    Sustained.        I will sustain the
'
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              objection.
••    21
0             MR. GIBSON:
.
u
Q
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z
w     22            Q   Now when you had the information with regard to the
~




      23
              knife what did you do then?
      24
                    A   I asked Johnny at Late Af~rnoon High School if he
                                                                                 222

     SAVORY-LL-000774                                                  ~-7~
              1:23-cv-01184-CRL-JEH # 318-4       Filed: 04/22/24   Page 13 of 46




        1     would be willing to accompany us down to the station to talk

        2     with other officers that were more familiar with the case

        3     who might have other knowledge of what had happened and he
        4     stated he would.
        5           we upon leaving the Hulbert Street address went i:Dthe
        6     police station to the Detective Bureau.
        7           Q    As you rode to the police station what were the

        8     respective positions of the occupants in the car?
        9           A    I was driving the vehicle, Officer Jiaines was in
       10     the front seat, passenger side, Johnny was in the rear.
       11           Q    And what time did you arrive at the station?
       12
                    A    We arrived at the station at approximately 4:30.
       13
                    Q    As you entered the station what was Johnny Lee
       14
              Savory's status?
       15
                    A    That of a witness.
       16
                           MR. VIELEY:       I   am going to object to that, again.
 .
 :     17
=                          THE COURT:    Sustained.           Sustained.
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IL     18
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                           MR. VIELEY:       Motion to strike.
0

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..,                        THE COURT:    I       will grant the motion and strike
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z      20
z             the answer and instruct the jury to disregard the answer.
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ci
u             MR. GIBSON:
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Cl


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z      22
~                   Q    Once you entered the station what, if anything,
       23
              did you do then?
       24
                    A    Mr. Savory and I cat in the Detective area while

                                                                                    223
      SAVORY-LL-000775                                                    z_7s&
                1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 14 of 46




          1    Officer Haines took Officer Fiers and Officer Cannon into
          2    the, an interview room and told them what we had obtained
          3    up until this time in the way of information.
          4          Q     And a~ter this conversation wrat did you do then?
           5         A     At approximately 5 o'clock Officer Haine~ Officer
           6   Fiers, Officer Cannon and myself accompanied by Johnny, we
           7   went into an interview room, requested that Johnny go over
           8   what he had 1nld us at the Late Afternoon High School,
           9   perta:bing to the night before, the incident on Garden Street.
          10
                     Q     Now what was the form of this first interview with
          11
               Johnny Lee Savory at the police station?
          12
                     A     Was that of a narrati.ve talk regarding what took
         13
               place between the victim and Johnny the night prior to this
         14
               incident.
          15
                     Q.    How many questionf) if you know, were asked of him
          16
               during his narrative.
.
...<
          17
::!                  A     I don't believe he was interrupted with any questions.
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:::
               It was that of what happened next, go on, similar to that.
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i
                      Q    What happened when his narrative ended?
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                      A    we exited the room and we were out of Johnny's
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         21
u              range of hearing.       we had talked about certain discrepancies.
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z        22
                             l\R. VIELEY:    I am going to object to that andrrove
         23
               to strike that.
         24
                             THE COURT:     Sustained.


        SAVORY-LL-000776
               1:23-cv-01184-CRL-JEH # 318-4       Filed: 04/22/24   Page 15 of 46




         1          Motion to strike the answer, if it was done outside the

         2    presence of the defendant.
         3    MR. GIBSON:
         4          Q     Also, Officer, I would want you to clarify who left

         5    the room when you say we left the room.

         6          A     All the officers, Officer Fiers, Officer Cannon,

         7    Officer Haines and myself.
         8          Q     Who, if anyone,   \'Ja   s left in the room with Johnny
         9    Lee Savory?
        10          A     No one.
        11           Q    How long were you out of the room?
        12          A     A total time of approximately 30 minutes.
        13           Q    What was the condition of the door of the interview
        14    room when you left it?
        15
                     A    It was standing open.
        16
                     Q    Now would you go back to the first interview at the
.
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              police station, the beginning of that for a moment, officer.
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        18
              What is the procedure when you begin an interview with a
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               suspect?
..;
z       20
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,.                   A    He would be read his Miranda Warning.
..
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C

        21
0
u                    Q    Did you or any other officers read Johnny Lee Savory
0


..."
C
z       22
              his Miranda Warnings?
        23
                     A    No, sir, we did not.
        24
                     Q    Why not?
                                                                                     225

       SAVORY-LL-000777
                                                                         12- ?39'
              1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 16 of 46




       1                 MR. VIELEY:     Objrotion to that.
       2                  THE COURT:    Sustained.
       3    MR. GIBSON:
       4          Q     Did you ever enter that interview room again?
       5           A    Yes, sirf I did.
       6           Q    When was the next time you entered it?
       7           A    At cpproximately 6 o'clock.
       8           Q    And for what purpose?
       9           A    To discuss certain information that Johnny had given
      10     to me t~t differed from information that had been r~ceived--
      11
                          MR. VIELEY:    Objection to that and motion to
      12
            strike.
      13
                          THE COURT:     Let him finish the answer.             Go ahead,
      14
             con~nue.
      15
                   A    This information differed from information that
      16
             was given by other people prior to having interviewed Johnny.
<

 =    17
                          MR. VIELEY:    Motion to strike, hearsay, and a
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~     18
N
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             conclusion, judge.
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      19
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                          THE COURT:    All right, I am going to strike that.
~
z     20
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>
             I will direct the jury to disregard what was done outside
C
m

0     21
u
Q
             thepresence of the defendant.
C
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      22
             MR. GIBSON:
      23
                   Q    Was there another interview held with Johnny Lee
      24
             Savory?
                                                                                   226
     SAVORY-LL-000778
                 1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 17 of 46




          1          A     Yes, sir, there was.

          2          Q     At what time was that?
          3          A     At approximately 6 o'clock.
          4          Q     Who was present?
          5          A     Officer Cannon and myself.
          6           Q    Is this in the same interview room?
          7           A    Yes,mr, it was.
          8           Q    And at that time did you read Johnny Lee Savory his

          9    rights?
         10           A    No, sir, I did not.
         11           Q    Did anyone else?
         12           A    No, sir.
         13
                      Q    At that time did you have a ,conversation with him?
         14           A    Yes, sir, I did.
         15           Q    What did he say to you and what did you say to him?
         16           A    I talked to Johnny in regards to the information
<
:        17
::!             that he had given me, talked to him djrectly regarding
....
:r
0
         18
N
                certain things that were not the same as other information.
0

~        19
                             MR. VIELEY: I am going to object to that.
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..
z
z
         20
                             THE COURT:    All right, I will susta~ that.               You
..,.0
..       21
0
u               are not answering the question, officer.                 The question
...
"
.
...z     22
                was, what did he say and what did you say •
         23
                      A    I told Johnny I had information regarding the food
         24
                that he stated he prepared, tbat he aated the victim poured
                                                                                        227

        SAVORY-LL-000779
                                                              q.c/0-     ~-?¥0
              1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 18 of 46




        1   the corn in the skillet and Johnny had cut up the hot dogs.

        2   The information I had was that the food was already prepared.

        3                  MR. VIELEY:    I am goirg to object to that and move

        4   to strike.

        5                  THE COURT:    No, this is--I asked the officer--You

        6   are stating to us now vJhat you stated to the defendant, is

        7   that right?
        8         A      yes, sir.
        9                  THE COURT:    All right, you may state it.
       10                  MR. VIELEY:   But he is getting hearsay in and
       11   in a round about way.
       12                  THE COURT:    No, I overruled the objection.
       13   Go ahead.       You can state what you-stated to the defendant.
       14   Go ah~ad, officer.
       15         A      I stated that the food was prepared, it was already
       16
            there.       I talked to him in regards to--
.
;:     17                  THE COURT:    Don't tell us what you talked to him
::!
,.
:E

:z     18
N
            in regard, tell us what you said.
0

~      19
                   A     Johnny had earlier stated to me that he had made
z
       20                                                             I told Johnny
            a phone call from a downstairs apartment.
      21
             that I had checked, that no phone call was placed from that
      22
             downstairs--
      23
                           MR. VIELEY:    Excuse me.      I am going to object to
      24
             earlier statements because that is unresponsive.                   I move to
                                                                                    228
      SAVORY-LL-000780                                               Z-?tlt
              1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 19 of 46




       1    strike.     He is saying what Johnnysaid earlier.               He is not

       2    responding to the State's Attorney's question.

       3                 MR. GIBSON:    I believe once again, judge, the

       4    officer is narrating what he said to Johnny.

       5                 MR. VIELEY:    No, he is talking about what he

       6    said earlier.
       7                 THE COURT:    Earlier, when?           I don't know when he

       8    means earlier, when officer1
       9          A     This conversation that I am involved in right now
      10    with Johnny at this time was all going back to a previous
      11    conversation.
      12                  THE COURT:   All right.         We want to know wrat was
      13
            stated by you, by him at this conversation.
      14           A    This is what I am trying to say at this time.
      15                  THE COURT:    Go ahead.       I will overrule the
      16
             objection.
~




=     17           A    The phone call that we were talking about at that
=
%
~

~     18     time Johnny stated he placed at 11 o'clock, talking to the
i     19
             victim for over an hour.
z
w     20
z
z
0
                   I tolfr Johnny I knew the phone call had not been placed
>
<
m
0u    21     by him to the victim.       Johnny and I talked about the fact
a
<
~
z
w
~
      22     that he stated Scopie had put the dog in a closet off the
      23
             bedroom.     I told Johnny that is not a closet.
      24
                   Johnny stated he had been a friend for a long time with
                                                                                  229

     SAVORY-LL-000781                                                   ~?~
                 1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 20 of 46




                Scopie.       My reply was, you were not a friend, yoddidn't
           1
                know the sister's name.          You arenot familiar with the
           2
                house, you in fact broken in down there prior to Monday
           3
                night.
           4

                      After going over this andJohnny continuing to state
           5
                that this is the way that it happened, this is the way it
           6
                was, he finally stated he didn't make the food, the food
           7
                was prepared, the dog, he still thought was put in a closet
           8
                but it was not the closet.
           9

          10
                      He stated he had not made the phone call, he stated

          11    that he had not been to the house prior to that Monday night,

          12    that that was the first timethat he had gone to the victim's

          13    house.

          14    MR. GIBSON:

          15          Q     Now that is during the second interview at the--

          16                   MR. VIELEY:   Excuse me.       I want to make a.·motion

...."'
~
          17    out of the presence of the jury on this line of testimony,
"'"'
...
0
          18    Your Honor.
.
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          19                   THE COURT:    Overruled.      Go ahead with your
~




"'        20    qlB3t ions.

          21                   MR. VIELEY:   Motion to strike and I will ask

          22    that the jury be instructed to disregard this hearsay on

          23    hearsay.

         24                    THE COURT: Denied.

                                                                                   230

         SAVORY-LL-000782
               1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 21 of 46




         1   MR. GIBSON:
         2           Q    That was the second interivew at the police station,

         3   is that correct?
         4           A    Ye& sir.

         5           Q    How long had you been at the police station with

         6   Johnny Lee Savory at the conclusion of the second interview?

         7           A    Approximately 2 hours.

         8           Q    During that 2 hours how long had you other officers
         9   and Johnny Lee Savory, been talking to Johnny Lee Savory, if
        10   you knO\'l?
        11           A    Approximately an hour to an hour and 15 minutes.
        12           Q    When did the second interview end?
        13
                     A    Approximately 6:30, 6:45.
        14           Q    And when it ended what did you do?
        15           A    we again, Officer Cannon and myself, ~xited the
        16
             room and went out into the office area.
<(

:I      17
:!                   Q    When was the next time you went back into that
:E
0:
...0    18
N
             room?
0
;;!
0
        19
                     A    I didn't go back into the room after that.
,;.
.
z
z
        20
                     Q    Where did you go?
,_0
..
C

        21
0
u                    A    I proceeded with other forms of investigation in
."
C

        22
~            regard to this case.
        23
                     Q    And what forms of investigation are those?
        24
                     A    I did make a trip back down to the Hulbert Street

                                                                                 231
       SAVORY-LL-000783
                                                                  :pl. 6\-"   2-7#
              1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 22 of 46




        1    address, be 1011 Hulbert where I talked to Mr. Savory,
        2    regards to any knife that again this knife that Johnny
        3    had mentioned.
        4            Q   When was that trip to Hulbert Strei; made?
        5            A   Approximately 5:35.
        6            Q   And when you talked to Mr. Savory, what happened
        7    then?
        8            A Mr. Savory got the knife and handed it to me.
        9            Q   And when he handed it to you what, if anything, happena.
       10    then?
       11            A   I told Mr. Savory that we were talking to Johnny.
       12
                           MR. VIELEY:    Objection as to that.            That would
       13
             be hearsay, Your Honor.
       14
                           MR. GIBSON:    Judge, I don't really see how it can
       15
             be hearsay.      The witness is merely stating what he said.
       16
                           THE COURT:    Overruled.       He can state whathe said.
.
<
       17
::!          He Pannot state what Mr. Savory said.
.
:E

::     18
..
0
                     A   Stated we had Johnny at the station, that was, had
~      19
             been with the victim the night before and was a very important
2'


       20
             witness in regard to tt1:i..s case.
       21    MR. GIBSON:
       22            Q   And what happened at that time?
       23            A   Mr. Savory requested--
       24
                           THE COURT:    No, we don't want to kno1v what

                                                                                2:Jr
      SAVORY-LL-000784                                                    'f!.-7V<J
               1:23-cv-01184-CRL-JEH # 318-4     Filed: 04/22/24   Page 23 of 46




        1    Mr. Savory said.

        2    MR. GIBSON:
        3          0     What did you do at that time?

        4          A     I    gave Mr. Savory a receipt for the knife.

        5          Q     Do you remember how that receipt was phrased?

        6          A     Yes, sir.

        7                     MR. VIELEY:     Objection, hearsay.

        8                     THE COURT:     This is what he did.         He may answer.

        9    MR. GIBSON:
       10           Q    irat   did you write in that receipt?
       11           A    I printed on a piece of yellow legal pad,                 ~   George
       12    Pinkney, receive--

       13                     MR. VIELEY: Objection.        Best ev~nce rule is the

       14    receipt would be the best evidence.

       15                     THE COURT:     Overruled.
       16           A    I, George Pinkney, received from Y. T. Savory,
<
:      17     one single blade knife, black in color, and I                   signed it with
"..
.
0
       18
              my name, George Pinkney.
N
0
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       19
              MR. GIBSON:
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.;
z
z
       20           Q        Officer, I show you now wmt has been marked previously
..
~

       21     for identification as People's Exhibit Number 44 and ask you
8
...
0

z      22
~             if you recognize that.
       23           A        Yes, sir, I do.
       24           Q        What is that?
                                                                                         233

      SAVORY-LL-000785                                                      7<-?4'Gt
                      1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 24 of 46




         1                 A   This is the knife that I received from Mr. Savory.
         2                 Q   After you received that knife what, if anything, did
         3        you do with it?
         4                 A   I   returned to the s~tion.          Upon entering the station

         5   .    I    saw Officer Jatkowski from the lab and I                personally handed
         6        the knife to Officer Jatkowski.
         7                 Q   After you gave the knife to Officer Jatkowski, what

         8        did you do then?
         9                 A   I proceeded back into the interview room, I am sorry,
        10       - at ms time Officer Fiers and myself called, made a q_ouple
        11        of phon~ calls pertaining to information that was--
        12                         MR. VIELEY:    Objection as to the sul::stance of the
        13
                  call.
        14                         THE COURT:    Sustained.       Well, I will sustain what

        15        the information was.           He can state again what he did.

        16                 A   Again, we made calls pertaining to--
<
~       17                         MR. VIELEY:    Objection as to what they pertain
::!


..:
0
        18        to.      I   think that is a way of getting what the conversation
N
0
::!0
        19        was.
..
i.

z
z
        20                         THE COURT:    He can state what he did.
...
0
>


0
        21                 A   Differences in the information that we had and
u

..""    22
z
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                  information that Johnny gavi.
        23                         MR. VIELEY:    Objection, and I move to strike that·.

        24        That is hearsay.



       SAVORY-LL-000786
             1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 25 of 46




       1                 THE COURT:    Overruled.

       2   MR. GIBSON:
       3          Q    After those phone calls were finished, what did you
       4    do then?
       5          A    This would be when Officer Cannon and myself entered
       6    the interview room ~or the second time.

       7          Q    And when you entered the interview room, the second

       8    time, what, if anything, did you do then?
       9          A    Again, ihi.s would be, this wotid be pertaining to the
      10    conversation where Johnny was, taked to directly about what
      11    he had stated and the information that I had.
      12          Q    Are you saying you talked to Johnny Lee Savory?
      13
                  A    Yes, sir.
     14           Q    What did you say to him?
      15                 MR. VIELEY:    Coud we have the time of this meeting.
      16
                         THE COURT:    Certainly.
<
~     17
=                 A 'Ilis would be the 6 o'clock interview.
z
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      18
N
                         THE COURT:    Is this a third interview now?
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      19
~
                  A    No, sir, we have covered this now.              This wocid be the
i
w
z    20
z
0
            last interview I talked about, will be going over that again,
>
C
m
     21
0
u           about tn~s testimony.
Q
C
~
z
:    22
            MR. GIBSON:
     23
                  Excuse me, Judge, excuse me.            Okay, when you brought
     24
            the knife back then and handed it to Officer Jatk~owski, then

                                                                                235
    SAVORY-LL-000787                                                ~-?'IP'
                   1:23-cv-01184-CRL-JEH # 318-4       Filed: 04/22/24   Page 26 of 46




            1    you went back into the interview room, is that correct?

            2              A   Yes, sir.

            3              Q   When you went thro.gh this interview you have previously

            4     described, that correct?
            5              A   Yes, sir.
                                       ,
            6              9   When that interview was finished what did you do
            7     then?
            8              A   Officer Cannon an¢nyself exited the room and there
            9     was conversation in regards to what to do next.
           10              Q   What did you decide to do next?
           11
                  Now excuse me, what did you do next?
           12              A   I, myself, took no active part in the next steps
           13
                  that took place.           I   have knowledge of w_hat happened.
           14              Q   Now, officer, I want to show you what has been
           15
                  previous·1y marked for identification as People's Exhibit
           16
                  Number 60 and ask you go you recognize that?
..
:          17
:I
                           A   Yes, sir, I do.
."'
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           18
                           Q   And when was the first time you saw that?
N

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"          19
~
                           A   This would be on the evening of the 25th at
i
.;
z          20
z                 approximately 5:30, p.m.
.~         21
8                          Q   Wha t is that ?
..
.....
0

z          22
                           A   It is a picture of a night stick with a cord strap
           23
                 protruding from the handle area.
           24
                           Q   Okay.       And you say you first saw it on the night of



        SAVORY-LL-000788
            1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 27 of 46




      1    the 25th, is that correct?

      2          A     Yes, sir.
      3          Q     When you saw it where was it?

      4          A     It was collected from a number of pictures that were

      5    taken at the scene on Garden and it was pulled out to be

      6    presented to Johnny.
      7          Q     Let me repeat my last question.           When you saw it

      8    where was it?
      9          A     At the police station.

     10          Q     Okay.   Did you have custody of it?
     11          A     Yes, sir, I did .
    . 12         Q     What did you do with it after you first t:ok possession
     13
           of it?
     14          A     I entered the room, presented the pictures to
     15    Mr. Savory.
     16          Q     I show you now, officer, what has been marked for
~

~    17    identificat:im purposes as People's Exhibit Number 59 and
=
~
~
0
~
     18    ask if you recognize that.
N
0
~
0
     19           A    Yes, sir, I do.
~
z
w
z    20           Q    And what is that?
z
0
>
~
m
     21           A    Again, this is a picture showing a tv sitting on the
0
u
C
C
~
z    22    floor at the Garden Street address.
~


     23           Q    When was the first time you saw that?

     24           A    The evening of the 25th.



    SAVORY-LL-000789
                1:23-cv-01184-CRL-JEH # 318-4    Filed: 04/22/24   Page 28 of 46




          1          Q     And what did you do with that picture on the evening

          2    of the 25th?

          3           A    I had it in my possession, took it in, showed it to

          4    Mr. Savory.

          5           Q    And People's Exhibit Number 58, here officer, would
                                  ,
          6    you take a look at that please.
          7           A    Yes.       This again is a picture that I had and showed

          8     to Mr. Savory.

          9           Q    Officer, if I may save us a bit of time, let me

         10     show you-3 exhibits at the same time, Exhibits Numbers 55,

         11     56 and 57, and ask you if you recognize those?
         12           A    Yes, sir, I do.
         13           Q    And what are those?
         14           A    Again, these are pictures that were selected that

         15     I took into my possession and walked in and handed to
         16     Mr. Savory in the interview room.
<
:        17           Q    And would you tell us what floes People's Exhibits
=
.....
"'0
         18     Number 55 portray?
..
0
~
0
         19           A    It shows an Oly Beer Can on the floor, apparently
z
         20     in the kitchen area.
         21           Q    And number 56?
         22           A    This depicts from a floor level the left end of

         23     the couch as you are facing it with a stand that of an

         24
                elephant, flat top, with a phone on top and a child's toy


        SAVORY-LL-000790
              1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 29 of 46




        1    at the front of it.
        2            Q   And number 57?
        3            A   57 would be a close up top to bottom view of this
        4    stand and it depicts as bottle of nail polish or nail hardener
        5    laying on the floor by the base of the stand.
        6            Q   And all these exhibits that you have viewed today
        7    have they bee~n changed in any way?
        8            A   No, sir, they have not.
        9            Q   Now with regard to People's Exhibit Number 60, you
       10
             that you have viewed and identified as photographed, night
       11
             stick, when in point of time or let's put it this way, at
       12
             what pint and time in re.ation to the 2 interviews you had
       13
             had with Mr. Savory on the 25th did you show him a picture
       14
             of a night stick?
       15
                     A   At the end of the second conversation.
       16
                     Q   And at what point and time did you show him a picture
<
;:     17
=
z
             of this television set turned to the wall with regard to the
"'~    18
:;:          2 conversations you had?
...
0
0
       19
z                    A   Again, this wouli be at the end of the second inter-
       20
             view.
       21
                     Q   With regard to the pole or stick here in People's
       22
             Exhibit Number 58, at what point and time with relation to
       23
              the 2 conversations you had with Mr. Savory did you show
      24
             him that photograph?


      SAVORY-LL-000791
              1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 30 of 46




     1            A    At the end of the second conversation.

     2            Q    And when you showed him those photographs what did
     3    he say:
     4            A    He gave information pertaining to yes, this is the
     5    stick we were using.
     6                   MR.VIELEY:    Objection, unless he recites exactly
     7    the conversation.
     8                   THE COURT: I will sustain the objection.
     9    Don't say he gave information or he talked in regard--Just
    10    tell us what he said.         Just use his words as best you can.
    11            A    He identified the stick as the one that was used.
    12                   MR. VIELEY:    That is a conclusion.
    13
                         THE COURT:    Sarne thing, you are doing the same
    14    thing.       I want to know his words. What did he say?
    15            A    This is the night stick we used in Kung Fu, okay.
    16
          A     This is my fingernail polish at the base here.                  This is
<
~   17
=         the tv that was set on the floor by Scopie so it wouldn't
:
~   18
N
          get broken.
0
~
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    19
~

z
          MR. GIBSON:
w
z   20
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>
                  Q    were those the only 3 he had identified, officer?
<
m

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    21
u
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z   22
w
~                 Q    Where are those photographs, been between the 25th
    23
          and yesterday?
    24
                  A    Locked up in the evidence room at the police station.


    SAVORY-LL-000792
               1:23-cv-01184-CRL-JEH # 318-4      Filed: 04/22/24   Page 31 of 46




         1          Q       Who took possession of them yesterday?

         2          A       I    d.d.

         3          Q       When if at all had you relinquished possession of

         4    those photographs?

         5          A       Last night.
         6          Q       What happened to them then, if you know?

         7          A       The Assistant State's Attorney, Mr. Gaubas, took

         8    possession of them, put them in the vault.

         9          Q       And where had they been until this morning?
        10          A       In that vault.
        11          Q       Once your second interview was concluded, what, if
        12    you know, happened to Johnny Lee Savory?
        13          A       He left the building with Mr. Baker, Officer Haines,
        14    Officer Cannon to go to another location.
        15          Q       Now what requests, if any, did Johnny make to you at
        16    theLate Afternoon High School?
:"      17
::!                 A           I cannot recall any requests othr than he stated
..
:E
0
        18    he would go to his house on Hulbert Street with us.
N
0
~
0
        19          Q           What requests,if any, did he make during the first
~

z
.;
z       20
z
,.            interview?
.
0

"'
        21
0
u                   A           Again there would be no request.
."'"
z       22           Q          And what reqmsts, if any, did he make the second
::'.

        23
              interview?
        24
                        A       Prior to the second interview he was given 2 soft


       SAVORY-LL-000793
              1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 32 of 46




        1    drinks,. allowed to go to the rest room.               He requested that

        2    his father not be brought back to the s~tion when I came

        3    back with the knife and that is all.
        4                 MR. GIBSON:     Your Honor, if I rmy have a moment,
        5    please.
        6                 THE COURT:    Certainly.
        7                 MR. GIBSON:    No further questiors, judge.
        8                 THE COURT:    Thank you, Mr. Gibson.
         9   Mr. Vieley, you may inquire.
       10                 MR. VIELEY:    ']rank you.
       11
             CROSS EXAMINATION by Mr. Vieley:
       12
                   Q     Officer Pinkney, didn't you tell the defendant on
       13
             that night that he could go home after talking to you?
       14          A     As I, I don't recall ever saying anyihi.ng to the
       15
             witness ·pertaining to him going home.
       16
                   Q     You never said words to the effect, if you tell me
<
;:    . 17
::!          all about :it then ;you can go home tonight?
:
~      18
N
                   A     I don't recall any conversation pertaining to that.
0
0
~
0
       19
~
                   Q     Could you have said that, officer?
i
       20
                   A     I don't believe so, but I guess there is possibility.
       21
                   Q     All right.    Now let's go back to the afternoon of
       22
             the 25th.      What time did you come on duty?
       23
                   A     At 8 o'clock that morning.
       24
                   Q     And you arrived at the school about 3:30 that afternoon


      SAVORY-LL-000794
                  1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 33 of 46




            1    is that correct?

            2          A     I arrived at the school prior to that.                 3:30

            3    Mn Savory came in.
            4          Q     About what time did you arrive at the school?

            5          A     Approximately 2, 5 minutes after 2.

            6          Q     And Officer Haines was with you at that time, is

            7    that correct?
            8          A     Yes, sir.
            9          Q     Now on the date in question on January 25th of                1977,
           lO    how old was Johnny Savory?
           11          A     I believe he was 14 years dd.
           12          Q     What grade of school was he in?

           13          A     I   believe he was in the special ed program, 7th

           14    grade.

           15          Q And is it a fair statement to say that he had below

           16    average intelligence in your opinion?
 <C
 ~         17          A     I   would say that was safe, yes.
 =
..
:£

...0       18          Q     Al, right.    Now he was taken from class and brought
N
0

~          19    to you and Officer Haines, about 3:30 p.m., is that correct?
 z
.;
z          20          A     He was    not taken from class as soon as he en~red
z
...
,_0

0
           21    he was told that there were 2 officers that wanted to talk
u
~
".....z    22    to him.

           23           Q    And you were in uniform were you not?

          24           A     No, sir, I   was not.



          SAVORY-LL-000795
              1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 34 of 46




        1          Q     You were in plain clothes?
        2          A     Yes, si..r.
        3          Q     He was told that you were police officers, is that

        4    correct?

        5          A     Johnny knew me prior to this.

        6          Q     Judge, I am going to make an objection to his answer

        7    as being unresponsive, move to strike.

        8                  THE COURT:   Overruled.

        9    MR. VIELEY:

       10          Q     Did any other officers have a uniform on?
       11          A     No, sir, he did not.
       12          Q     Now where did you talk to the defendant?
       13
                   A     The way the building is set up, it wourl be the back

       14    of the building being the east side frqm the office area,
       15    it would be to the left or the north side.                 It is a t~acher's
       16
            eating room, conference room.
       17
                   There are no desks or classes held in this room.
...
:E
0
       18
.                  Q     And at-that time he said words to the effect, that
0
::!
0
       19   I don't want to talk to you about it, is that correct?
       20          A     That is correct.
       21          Q     Now at that time did you give him any Miranda Warnings?
       22          A     No, sir, I did not.
       23          Q     At that time was any attorney present to represent
       24   him?


      SAVORY-LL-000796
            1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 35 of 46




      1          A     No, sir, t1R'e was not.

      2          Q     Was his father present at that first interivew?

      3          A     No, sir, he was not.

      4          Q     Was his guardian present there at the first interview?

      5          A     No, sir.

      6          Q     Now even though he told you that he didn't want to

      7    talk about the matter you pursued it, did you not?

      8          A     Yes, sir.

      9          Q     And how long did you talk to Johnny Savory at the

     10    school?

     11          A     Approximately 30 minutes.

     12          Q     And from there he accompanied you to the squad car,
     13    is that right?
     14          A     Yes, sir, that is correct.
     15          Q     And about what time did yoU'J_eave the school?

     16          A     At approximately 4 o'clock, shortly after 4.
<
~
     17          Q     Now where did you go at that time?
=
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~
     18          A     To 1011 Hulbert.Street.
N
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0
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0
     19          Q     And he cooperated by trying to go to the house and
z
w    20
z
z
0
           get the knife, is that correct?
~
<
m

0    21          A     Y~ sir, that is correct.
u
0
C
~
z
:    22          Q     The house was locked, is that correct?
     23          A     He stated his father was not home, that he could not
     24
           gain access to the house, apparently the door was laked.
                                                                              245
    SAVORY-LL-000797
                1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 36 of 46




          1           Q    Did he tell you that the father had the knife \~ifu

          2    him?
          3           A    He said he believed the father to have the knife

          4    with him at that time.
          5           Q    And that the father was at the hospital?
          6           A    It would be St. Mark's Court for medical treatment.
          7           Q    Did he say why the father was there at St. Mark's
          8
               Court?
          9           A    No, sir.
         10           Q    Do you have any knowledge of that, sir, why the
         11    father was there?
         12           A    I have a speculation or a guess.
         13
                             MR. GIBSON:    Objection, judge.
         14                  THE COURT:    He is answering the question.
         15
               MR.VIELEY:
         16
                      Q    Has anyone told you why he was there?
<
:        17
=                     A    Specifically why he was there, no.
"'0"'
...      18
N
                      Q    Has anyone told you the circumstances as to why
0
l:!0
         19
              father Savory was there?
i
..;
z        20
z
,.                    A    Again, I can make a speculation, but I ron•t have
..
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,c

         21
0
u              any direct knowledge.
.
0
,c
z       22
~                     Q    Now from there where did you go?
        23
                      A    To the police department.
        24
                      Q    And diq/the defendant, Johnny Savory accompany you?
                                                                                  246
        SAVORY-LL-000798
                 1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 37 of 46




           1            A   Yes, sir, he did.
           2            Q   Now what part of the police station did you take
           3    Johnny Savory to?
           4            A   We entered the station by way ofthe side door, up
           5    the stairs that would be the general area of the detective
           6    bureau on juvenile bureau.          We were seated in the juvenile
           7    area.
           8            Q   Now there is screens on the windows or bars, is
           9    there not?
          10            A   Yes, sir, there are.
          11            Q   And there were other police officers there in uniform
          12    were there not?
          13
                        A   I don't recall any one being in uniform upsta:ir's at
         14     that time.
          15            Q   But there were other office:s there, is that correct?
          16
                        A   Plain clothes officers, yes.
:"'       17
::!                     Q   Now at that time did you give the defendant any
"..."'
0
          18
N
                Miranda Warning?
0
~
0
          19
                        A   No, sir, I did not.
i.
          20
                        Q   Did you tell the defendant that he had a right to
         21
                have a lawyer with him during this time?
         22
                        A   No, sir, I did not.
         23
                        Q   Was his guardian there?
         24
                        A   No, sir, he was not.

                                                                                   247
         SAVORY-LL-000799
              1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 38 of 46




        1          Q     Was his father there?
        2          A     No, sir, he was not.
        3          Q     How many police officers were there on this particular

        4    floor at that time?
        5          A     I don't have an accurate count.             I would say there

        6    were probabli6, maybe 7 officers.
        7          Q     And where was the defendant initially seated?
        8          A     He took a chair next to the second desk on the

        9    juvenile side, very near the area that I sat down at.
       10          Q     And how large is the interv:a-croom?
       11          A     Are we talking about the area now where he is
       12
             sitting or the area we took him to later on?
      13           Q     The area you ultimately took him to later on,

      14     please.

       15          A     ·I would say 'it is approximately 8 foot, maybe 10
       16    foot wide by 10 feet, maybe 12· feet deep.
       17          Q     And when was he taken into the interview room?
       18          A     At approximately 5 o'clock •
.
0
:::
0
      19           Q     That would be 5 o'clock p.m.?
      20           A     Yes, sir.
      21           Q     Now who was present in the interview rooms during
      22     the first interview?
      23           A     Officer Fiers, Officer Cannon, Officer HairEB and
      24     m~lf.


      SAVORY-LL-000800
                                                                       ~~1\» \ 248 .
                1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 39 of 46




         1          Q       Who asked the questions during this interview?

         2          A       Tbere were no questions asked for questions aaed

         3    or responses.        It was a narrative form of the talk, and

         4    the only proding or questions if you want to call them that

          5   would be, okay, go on, or what did you do next.

         6           Q      Now, isn't it true, that occasionally the defendant

         7    would stare when you asked him a question?
         8           A      There were no questions asked.
          9            Q    At that time.
        10             A    And he was not facing me at that time.
         11            Q    Where was he facing?
        12             A    He was facing towards Officer Fiers and Officer Cannon.
        13             Q    How long was the defendant kept in this interview
        14
               room?
        15             A    The initial time, initial conversation lasted for
        16     30 minutes.       Then everybody left, but he still remained
..::
        17
               seated in there.
.=
:E

...0    18
                        Q    Now isn t i t true that the defendant was not free
N


~       19
               to leave during this time?
i
.;
z
z
        20              A    The defendant never asked to leave at that time.
0

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>
<
        21
0
u                       Q    But isn't it true he was not free to leave, sir?
."'
"
z
~
        22
                        A    If Mr. Savory had wanted to leave at that time I
        23
                would have had to consult with my superior officers and ask
        24
                them what I shruld do at that time.


       SAVORY-LL-000801
                  1:23-cv-01184-CRL-JEH # 318-4    Filed: 04/22/24   Page 40 of 46




         1             Q   So if he said during this interivew, w~l I think

         2    I    have had enough of this, I          am going to leave, you wouldn't

         3    have said bye, you would have said, sit down, I                        have to

         4    check on whether or not you can leave, isn't that correct?

         5             A   You are wanting me to come up with a situation and

         6    answer for a situation that wasn't put to me, I don't know.
         7             Q   Well, I   want you to tell us what you oould have done

         8    if Mr. Sa'l,(l"y would have stopped and said, I am going to
         9
              leave.
        10                   MR. GIBSON:        Objection, Your Honor.           We are
        11
              entering the field of specu~tion.
        12                   THE COURT:     I     will suftBin the objection on the
        13
               grounds it has been asked and answered.
        14
              MR. VIELEY:
        15             Q   Now when did the second interview begin?
        16
                       A   At approximatelw 6 o'clock.
<
~       17
:::!                   Q   6 o I cl ock7
:E

Ii"'    18
N
                       A   P.M.
0

~       19
                       Q   On the same afternoon?
i
        20
                       A   Yes, sir.
        21
                       Q   ·~d was any atlDrney present for that interview?
        22
                       A   No, sir, th:r'e was not.
        23
                       Q   Was the guardian there?
        24
                       A   No, sir, he was not.


       SAVORY-LL-000802
            1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 41 of 46




      1            Q   Was the father there?
      2            A   He had specifically asked for the father not to be
      3    there.
      4            Q   Who was present for the second interview?
      5            A   Officer Cannon and myself.

      6            Q Were questions asked by you and Officer Cannon?
      7            A   The questions were asked by me.

      8            Q   And did the defendant sometimes state when you
      9    asked him a question?
     10            A   I don't think there was much in the way of eye contact
     11    and I really cannot remember him ever staring at me or fixing
     12
           his eyes on my eyes.
     13
                   Q   Did he ever hesitate when you asked him these
    14
           questions?
     15
                   A   At times there were pauses, yes.
     16
                   Q   Now at this point and time had you been down to the
.
<
N
     17
           father's house, Y. T. Savory's house to get the kn~e yet?
=
z
«
0
~    18
N
                   A   Yes, sir, I had.
0

~    19
                   Q   You had been there.      Now what time did you go there?
i
    20
                   A   I left the station at approximately 25 minutes 'til
    21
           6.
    22
                   Q   And did anyone accompany you to go to the father's
    23
           home?
    24
                   A   No, sir.


    SAVORY-LL-000803
                 1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 42 of 46




          1           Q     You were by yourself?

          2           A     Yes, sir.

          3           Q     While you were at the father's house did the father

          4     show you any wounds on his leg?

           5          A     No, sir.

           6          Q     Did you ever have any conversation about any kind of

           7    woulds he may have had?

           8          A     No, sir.

           9          Q     DID the father say anything about being treated at

          10    St. Mark's Court?
          11          A     No, sir, not as I reca11.
          12          Q     So then you came back, I assume, from the father's
          13    home and began the second interivew which~ have just covered,
         14     is that correct?
          15          A     After my phone call was placed, after Officer Fiers'
          16
                phone call was placed, yes.
<
:         17
::!                   Q     Now did you participate in any further interviews
"~..
         18
N
                after the second interview?
"
~
"         19
                      A     No, sir, I   did not.
z
,.;
z        20
."'.."
z                     Q     When you were at the father's home, the home of

0
         21     Y. T. Savory, did he tell you that a big man had done these
u

"'"
"z       22
~               murders?
         23                                  Objection, judge.          The question is
                              MR. GIBSON:
         24
                calling for hearsay.


         SAVORY-LL-000804
               1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 43 of 46




        1                   THE COURT:    Sustained.
        2    MR. VIELEY:
        3            Q   Now is it your testimony that the defendant, Johnny
        4    Savory was shown a group of photographs dl ring the second
        5   • intervie\v?
        6            A   It would be prior to the second interview.
        7            Q   Prior to the second interview, and these photographs
        8    sho\v e d the genera ly outlay of the home, didn't ih ey?
        9            A   No, sir.
       10            Q   They showed specific it~ms?
       11            A   Yes, sir.
       12
                     Q   Such as the tv, the elephant stand, and anything
       13
             else?
       14
                     A   A night stick.
       15
                     Q   A night stick.     Anything else?
       16
<C
                     A   If you look at the photo I suppose you can say that
~
;:!
       17
             it shows a color of a wall or a color of a carpet, but that
."'
~      18
N
0
             was not the purpose of showing these.
~
0
       19
z                    Q   Now there were further interviews that night with the
       20
             defendant, but I take it that you did not participate in
       21
             those, did you?
       22
                     A   No, sir, I did not.
       23
                     Q   During the second interview did the defendant at
      24
             any time tell you he did not want to talk about this case?


      SAVORY-LL-000805
               1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 44 of 46




        1             A   This would be the sec.ond interview at the stBtion,
         2    is that correct?
        3             Q   Yes.
         4            A   No, sir, he did not.
         5            Q   Did he tell anyone he did not want to talk about
         6    this?
         7            A   My direct knowledge, no, he did not tell anybody
         8
              that.
         9
                            MR. VIELEY:   That is all we have.             Thank you.
        10
                            THE COURT:    Anything else, Mr. Gibson?
        11
                            MR. GIBSON:   Redirect judge.
        12
              REDIRECT EXAMINATION by Mr. Gibson:
       13
                      Q   Is it your testimony on cross e_xamina t:im, officer
       14
              was that you diinot tell him that he might have an attorney
        15
              prea:nt, is that correct?
        16
                      A   Yes, sir, that is correct.
<
:       17
::!
                      Q   Why did you not tell him that?
,."'
~       18
N
0
                      A   This is not a policy with the witness advising
::
0
        19
z             that he could have or would need an attorney.
       20
                            MR. VIELEY:    I am going to object and move to
       21
              strike that.
       22
                            THE COURT:    Overr,iled.
       23
              MR. GIBSON:
       24
                      Q   During these interviews did Johnny Lee Savory have


       SAVORY-LL-000806
                  1:23-cv-01184-CRL-JEH # 318-4    Filed: 04/22/24   Page 45 of 46




           1    any trouble understanding you?

           2          A     No, sir, he did not.
           3          Q     On the day of the 25th, did you see Johnny Lee Savory's

           4    legal guardian, representative?
            5         A     Yes, sir, I did.
           6           Q    Where was that?
           7           A    At the station.
            8          Q    At what time?
            9          A    At approximately 9, 9:30.
           10          Q    What was the circumstances, if you know, caused him
          11
                 to be there?
          12           A    He was requested to come to the station by Officer
          13
                 Haines.
          14           Q    With reg~rd now to the time of day, at what time of
          15    day did you show Johnny Lee Savory those pictures?
           16          A    This would be at approximately 25 minutes 'til 6.
"'~
           17
=                I should correct that.           It would be between 5:30 and 25
""'0
.         18
..
Q
                 minutes     1
                                 til 6 •
~
Q
          19
;                                 MR. GIBSON:   Judge, those are all the questions
z
.;        20
z:
z
,.0              we have of this witness as far as redirect at this time.
.
"'
          21
0
u                If therr is no further cross examination I would move for
..."'.
Q


z:        22
                 introduction of the People's Exhibits shown                   to the officer •
          23
                                  THE COURT:    Do you want to hand those to me?
          24
                                  MR. GIBSON:    Yes.
                                                                                       255
         SAVORY-LL-000807
               1:23-cv-01184-CRL-JEH # 318-4   Filed: 04/22/24   Page 46 of 46




         1                 THE COURT:     Any further cross examination first,

         2    Mr. Vieley?

         3                 MR. VIELEY:     None, Your Honor.

         4                 THE COURT:     Any objection to these exhibits?

         5                 MR. VIELEY:    May I see them.

         6                 THE COURT:     All right, I will give them to you one

         7    at a time.

         8             People's Exhibit Number 55, People's Number 56,

         9    people's Number 57, people's Number 58, People's Number 59
        10    and People's Number 60.
        11
                           MR. VIELEY:     No objection to those, Your Honor.
        12
                            THE COURT:     Those exhibits are admi~ed into
        13
              evidence and the knife is People's 44 A, any objeCtion to
        14
              that?
        15                  MR. VIELEY:    Yes, that I don't think we will
        16
              allow in.      We will object to it.         It doesn't have any
..
;:      17
:::!          probative '\8 lue at this p:Ii.nt.
"'..
~       18                  THE COURT:    I will reserve my ruling on People's
N

~
0
        19     44 A.
z
.;
z
z
        20             I will pass these among the jury.            I don t know whether
 ..
0
>-
<

0
        21     it is really necessary or not, but I think we will.
u

.."'
Q




....
z       22                  MR. GIBSON:    Judge, if I am not mistaken, we can
        23     exctre Officer Pinkney at this time.
        24                  THE COURT:    All right, thank you, officer.


       SAVORY-LL-000808
